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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS

JAKOTA CABLE CONSTRUCTION LLC                       §
                                                    §
                                                    §
                                                    § Case Number: 4:15-cv-00819
VS.                                                 §
                                                    §
SCOTTSDALE INSURANCE CO. and                        §
TOWER NATIONAL INSURANCE CO.                        §


         PLAINTIFF'S STIPULATION OF DISMISSAL OF PLAINTIFF’S CLAIMS


         Plaintiff Jakota Cable Construction LLC files this stipulation of dismissal of its claims

without prejudice as follows:

         1.       Jakota Cable Construction, LLC (Jakota), filed its Original Complaint on March
                  30, 2015 against Scottsdale Insurance Company (“Scottsdale) and Tower National
                  Insurance Company (“Tower”).
         2.       Both Scottsdale and Tower have been served with Summons.
         3.       Tower filed an answer on April 30, 2015. Scottsdale has not filed an answer.
                  Neither party has filed a motion for summary judgment.
         4.       Jakota hereby files this stipulation of dismissal with the intention of dismissing its
                  claims under Fed. R. Civ. P. 41(a)(1)(A)(i) without prejudice to refiling.

         5.       This stipulation is also signed by counsel for Tower, the only defendant to have
                  appeared and filed an answer in this case.

                  Jakota asks that the court take notice of this stipulation and that its claims be

dismissed without prejudice.

                                                         Respectfully submitted,

                                                     By:/s/ James M. Bettis, Jr.
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